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                                                           M ar c h 1 5, 2 0 2 1




VI A E C F
H o n. S ar a h N et b ur n
U nit e d St at es Distri ct J u d g e
S o ut h er n Distri ct of N e w Y or k
5 0 0 P e arl Str e et
N e w Y or k, N Y 1 0 0 0 7

R e:      S E C v. Ri p pl e L a bs, I n c. et al., N o. 2 0-c v - 1 0 8 3 2 ( A T)( S N) ( S. D. N. Y.)

D e ar J u d g e N et b ur n:

            W e writ e o n b e h alf of D ef e n d a nts Ri p pl e L a bs I n c. ( “ Ri p pl e ”) , Br a dl e y G arli n g h o us e , a n d
C hristi a n A. L ars e n ( c oll e cti v el y “ D ef e n d a nts ”), p urs u a nt t o P art II. C of t h e C o urt’s I n di vi d u al
Pr a cti c es, t o r e q u est a L o c al R ul e 3 7. 2 c o nf er e n c e.

            Aft er t hr e e l e n gt h y vi d e o c o nf er e n c es a n d a n e x c h a n g e of l ett ers, D ef e n d a nts a n d t h e
S e c uriti es a n d E x c h a n g e C o m missi o n ( “ S E C ”) h a v e r e a c h e d a n i m p ass e r e g ar di n g t h e S E C’s
r ef us al t o s e ar c h f or a n d pr o d u c e i nf or m ati o n r el at e d t o t h e c or e iss u es of t his liti g ati o n: W h et h er
s al es of X R P w er e u nr e gist er e d s e c uriti es off eri n gs, w h et h er Mr. G arli n g h o us e a n d Mr. L ars e n
(t h e “I n di vi d u al D ef e n d a nts ”) k n o wi n gl y or r e c kl essl y f ail e d t o r e c o g ni z e t h e m as s u c h, a n d
w h et h er Ri p pl e h a d f air n oti c e t h at X R P s al es r e q uir e d r e gistr ati o n. S p e cifi c all y, t h e S E C h as
r ef us e d t o s e ar c h f or a n d pr o d u c e (i) a si n gl e d o c u m e nt c o n c er ni n g bit c oi n or et h er – t w o virt u al
c urr e n ci es t h at ar e cl os el y a n al o g o us t o X R P; (ii) i nt er n al c o m m u ni c ati o ns of a n y s ort, e v e n w h er e
t h e y r e v e al t h e m ar k et’s a n d t h e S E C’s o w n pr ol o n g e d u n c ert ai nt y o v er w h et h er X R P w as a
s e c urit y; a n d (iii) a n y d o c u m e nts fr o m t e n of t h e ni n et e e n c ust o di a ns D ef e n d a nts pr o p os e d ( a
li mit ati o n t h at l a c ks a n y b asis ot h er t h a n t he S E C’s r ef us al t o s e ar c h f or a n d pr o d u c e d o c u m e nts
i n c at e g ori es (i) a n d (ii)). T h e r e q u est e d dis c o v er y e asil y m e ets t h e br o a d st a n d ar d of r el e v a n c e
u n d er F e d er al R ul e of Ci vil Pr o c e d ur e 2 6( b)( 1) a n d, d es pit e m ulti pl e o p p ort u niti es t o d o s o, t h e
S E C h as f ail e d t o s u bst a nti at e a n y pri vil e g e or b ur d e n cl ai m t h at w o ul d e x c us e t h e S E C fr o m
s e ar c hi n g f or it. T h e C o urt s h o ul d t h er ef or e c o m p el t h e S E C t o c o n d u ct a r e as o n a bl e s e ar c h f or
a n d pr o d u c e all n o n- pri vil e g e d d o c u m e nts r es p o nsi v e t o t h e dis p ut e d r e q u ests.
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H o n. S ar a h N et b ur n
M ar c h 1 5, 2 0 2 1
Pa ge 2

I.          W h et h e r T h e M a r k et A n d T h e S E C Its elf C o nsi d e r e d X R P S al es T o B e S e c u riti es
            Off e ri n gs A r e C e nt r al Q u esti o ns I n T his Liti g ati o n.

            O n D e c e m b er 2 2, 2 0 2 0 – as t h e S E C’s C h air a n d its dir e ct ors fr o m t h e pri or a d mi nistr ati o n
w er e w al ki n g o ut t h e d o or – t h e SE C fil e d t his c as e all e gi n g t h at s al es o v er t h e l ast ei g ht y e ars of
X R P, t h e t hir d- l ar g est di git al ass et i n t h e w orl d b y m ar k et v al u e, h a d b e e n a m assi v e u nr e gist er e d
s e c uriti es off eri n g i n vi ol ati o n of S e cti o n 5 of t h e S e c uriti es A ct of 1 9 3 3. T h e S E C d o es n ot
c o nt e n d t h at Ri p pl e or t h e I n di vi d u al D ef e n d a nts m a d e a n y eff ort t o c o n c e al t h eir a cti viti es, n or
c o ul d t h e y. X R P is a w ell- k n o w n a n d wi d el y us e d di git al ass et, wit h gl o b al tr a di n g v ol u m e si n c e
i n c e pti o n of b et w e e n $ 7 0 0 billi o n a n d $ 1 trilli o n. T h e S E C’s c o m pl ai nt cit es li b er all y fr o m “ p u bli c
st at e m e nts ” t h at Ri p pl e m a d e t o t h e m ar k et r e g ar di n g its a cti viti es, a n d i n p arti c ul ar t h e n at ur e,
us e- c as e, a n d s al e of X R P. A m. C o m pl. ¶ ¶ 6 1 -6 4. F or al m ost a d e c a d e, t h e S E C w at c h e d as X R P
gr e w a n d d e v el o p e d, all t h e w hil e iss ui n g n o f or m al g ui d a n c e t h at its s al es m a y b e ill e g al. T h e
S E C di d, h o w e v er, a n n o u n c e t h at s al es of t w o si mil ar di git al ass ets – bit c oi n a n d et h er – w er e n ot
s e c uriti es off eri n gs. 1 M or e o v er, i n 2 0 1 5, t h e D e p art m e nt of J usti c e a n d Fi n C E N e nt er e d i nt o a
s ettl e m e nt a gr e e m e nt wit h Ri p pl e t h at d et er mi n e d X R P t o b e a “ virt u al c urr e n c y ” – a g ai n, li k e
bit c oi n a n d et h er. As a r es ult, Ri p pl e s u bsi di ar y X R P II, L L C w as s u bj e ct t o a nti- m o n e y
l a u n d eri n g r e q uir e m e nts as a M o n e y S er vi c e B usi n ess. A m. C o m pl. ¶ 3 7 9. As t h e S E C w ell
k n o ws, X R P h as b e e n list e d o n m or e t h a n 2 0 0 virt u al c urr e n c y e x c h a n g es. Pri or t o listi n g X R P
o n t h eir pl atf or ms t h es e i n d e p e n d e nt b usi n ess es m ust h a v e c o n cl u d e d t h at X R P w as n ot a s e c urit y
(li k el y wit h t h e g ui d a n c e of s o phisti c at e d s e c uriti es c o u ns el). S e e i d . ¶ 1 6 1 ( “ n o n e of [t h es e
pl atf or ms] w er e r e gist er e d wit h t h e S E C ” as s e c uriti es e x c h a n g es).

           T h e S E C n o w c o nt e n ds t h at u n d er “ a str ai g htf or w ar d a p pli c ati o n of a w ell -s ettl e d l e g al
t est ” – t h e S u pr e m e C o urt’s 7 5-y e ar ol d pr e c e d e nt i n S E C v. W. J. H o w e y C o. , 3 2 8 U. S. 2 9 3
( 1 9 4 6) – D ef e n d a nts’ s al es of X R P ar e a n d al w a ys h a v e b e e n a n u nr e gist er e d s e c uriti es off eri n g.
S e e L ett er fr o m J or g e T e nr eir o t o t h e H o n or a bl e A n alis a T orr es, E C F N o. 5 4 at 2 ( M ar. 9, 2 0 2 1).
I n c h ar a ct eri zi n g t his as t h e “si n gl e iss u e ” t o b e d e ci d e d, a n d a q u esti o n of “stri ct-li a bilit y, ” i d. at
1, t h e S E C i g n or es at l e ast t hr e e q u esti o ns c e ntr al t o t his c as e:

      •     First , t h e H o w e y t est is n ot a st eril e e x er cis e t o b e c o n d u ct e d i n a v a c u u m, b ut r at h er
            r e q uir es t h e C o urt t o c o nsi d er – a m o n g ot h er f a ct ors – “ w h at c h ar a ct er t h e i nstr u m e nt is
            gi v e n i n c o m m er c e b y t h e t er ms of t h e off er, t h e pl a n of distri b uti o n, a n d t h e e c o n o mi c
            i n d u c e m e nts h el d o ut t o t h e pr os p e ct. ” M ari n e B a n k v. W e a v er , 4 5 5 U. S. 5 5 1, 5 5 6 ( 1 9 8 2)
            (i nt er n al q u ot ati o n m ar ks o mitt e d); s e e als o W arfi el d v. Al a niz , 5 6 9 F. 3 d 1 0 1 5, 1 0 2 1 ( 9t h
            Cir. 2 0 0 9) (t h e C o urt will “ c o n d u ct a n o bj e cti v e i n q uir y i nt o t h e c h ar a ct er of t h e i nstr u m e nt
            or tr a ns a cti o n off er e d b as e d o n w h at t h e p ur c h as ers w er e ‘l e d t o e x p e ct.’ ”) ( q u oti n g W. J.
            H o w e y , 3 2 8 U. S. at 2 9 9). As e x pl ai n e d b el o w, t h e S E C its elf w as a c e ntr al pl a y er i n t h e
            m ar k et -wi d e dis c ussi o n, a n al ysis, a n d pr a cti c e a b o ut w h et h er a n d u n d er w h at

      1
          Willi a m Hi n m a n, Di git al Ass et Tr a ns a cti o ns: W h e n H o w e y M et G ar y ( Pl asti c) , R e m ar ks at t h e Y a h o o
Fi n a n c e All M ar k ets S u m mit: Cr y pt o (J u n e 1 4, 2 0 1 8), a v ail a bl e at htt ps:// w w w. s e c. g o v/ n e ws/s p e e c h/s p e e c h -
hi n m a n -0 6 1 4 1 8.
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H o n. S ar a h N et b ur n
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Pa ge 3

             cir c u mst a n c es s al es of di git al ass ets c o ul d b e s e c uriti es off eri n gs. I n ot h er w or ds, t h e S E C
             its elf h el p e d s h a p e t h e c h ar a ct er of X R P a n d ot h er di git al ass ets i n c o m m er c e a n d w h at
             m ar k et p arti ci p a nts c o ul d e x p e ct.

      •      S e c o n d , t h e S E C c h os e t o c h ar g e t h e I n di vi d u al D ef e n d a nts wit h ai di n g a n d a b etti n g
             Ri p pl e’s vi ol ati o ns of S e cti o n 5. T o pr o v e t his, t h e S E C m ust s h o w t h at t h e I n di vi d u al
             D ef e n d a nts k n e w or r e c kl essl y disr e g ar d e d t h at t h e y w er e ass o ci ati n g t h e ms el v es wit h
             s o m et hi n g “i m pr o p er ” a n d n o n et h el ess “s u bst a nti all y assist e d ” Ri p pl e i n c o m mitti n g t h at
             vi ol ati o n. S E C v. A p uzz o , 6 8 9 F. 3 d 2 0 4, 21 1 ( 2 d Cir. 2 0 1 2); S E C v. Es p u el as , 9 0 5 F. S u p p.
             2 d 5 0 7, 5 1 7- 1 8 ( S. D. N. Y. 2 0 1 2). T h e S E C h as t h us c h os e n t o p ut at iss u e n ot o nl y w h et h er
             X R P s al es w er e s e c uriti es off eri n gs, b ut w h et h er t h e I n di vi d u al D ef e n d a nts k n o wi n gl y or
             r e c kl essl y f ail e d t o r e c o g ni z e t h e m as s u c h. 1 5 U. S. C. § 7 7 o( b).

      •      T hi r d, Ri p pl e h as pl e a d e d a w ell-f o u n d e d d ef e ns e t h at it w as d e pri v e d of f air n oti c e t h at
             X R P s al es r e q uir e d r e gistr ati o n b y t h e S E C’s o w n c o n d u ct, i n cl u di n g its p u bli c
             a n n o u n c e m e nts t h at si mil ar di git al c urr e n c y s al es w er e n ot s e c uriti es off eri n gs, as w ell as
             t h e c o urs e of d e ali n g o v er t h e ei g ht y e ars pr e c e di n g t his a cti o n. 2

            T h e S E C’s o w n c o n d u ct c o nfir ms t h at i nf or m ati o n a b o ut h o w t h os e i n t h e m ar k et vi e w e d,
i nt er a ct e d wit h, a n d cl assifi e d X R P o v er t h e ei g ht y e ars pri or t o fili n g t his c as e is r el e v a nt t o e a c h
of t h es e t hr e e q u esti o ns. O n t h e d a y dis c o v er y o p e n e d, t h e S E C s er v e d 1 3 t hir d- p art y s u b p o e n as,
a n d it h as si n c e s er v e d 3 7 m or e, a d dr ess e d t o t h es e v er y q u esti o ns. A m o n g ot h er t hi n gs, t h e S E C’s
s u b p o e n as s e e k “[ a]ll d o c u m e nts a n d c o m m u ni c ati o ns r e g ar di n g t h e l e g al or r e g ul at or y st at us of
X R P, i n cl u di n g b ut n ot li mit e d t o, d o c u m e nts c o n c er ni n g w h et h er X R P is a ‘s e c urit y’ wit hi n t h e
m e a ni n g of t h e U. S. s e c uriti es l a ws a n d/ or t h e a p pli c ati o n of t h e U. S. s e c uriti es l a ws t o t h e off er,
p ur c h as e or s al e of a n y X R P. ” S e e, e. g. , E x. A , S u b p o e n a t o C oi n b as e, D o c u m e nt R e q u est N o. 7
(J a n. 2 9, 2 0 2 1). T h e S E C h as s e nt si mil ar r e q u ests t o e a c h of t h e D ef e n d a nts. E x. B , Pl.’s First
S et of D o c. R e qs. ( “ R F Ps ”) t o Ri p pl e L a bs I n c., D o c u m e nt R e q u est N o. 2 3 (J a n. 2 5, 2 0 2 1); E x. C ,
Pl.’s First S et of R F Ps t o Br a dl e y G arli n g h o us e, D o c u m e nt R e q u est N o. 8 (J a n. 2 5, 2 0 2 1) ; E x. D ,
Pl.’s First S et of R F Ps t o C hristi a n A. L ars e n, D o c u m e nt R e q u est N o. 8 (J a n. 2 5, 2 0 2 1).

           B ut w h e n D ef e n d a nts s er v e d ess e nti all y t h e s a m e dis c o v er y r e q u ests o n t h e S E C, t h e S E C
r ef us e d t o pr o d u c e virt u all y a n yt hi n g b esi d es s elf -s el e ct e d d o c u m e nts t h at it h a d pl a c e d i n its
“i n v esti g at or y fil e. ” S p e cifi c all y, o n J a n u ar y 2 6, 2 0 2 1, D ef e n d a nts s er v e d t h e S E C wit h t h eir First


      2
          O n M ar c h 9, 2 0 2 1, t h e S E C fil e d a pr e -m oti o n l ett er s etti n g f ort h t h e a nti ci p at e d b asis f or a m oti o n t o stri k e
Ri p pl e’s f air n oti c e d ef e ns e. E C F N o. 5 4. Ri p pl e will o p p os e t his m oti o n. B ut e v e n if t h e S E C pr e v ails, t h e dis c o v er y
r e q u est e d h er e is i n d e pe n d e ntl y r el e v a nt t o t h e H o w e y iss u e, t h e k n o wl e d g e or r e c kl ess n ess el e m e nt of t h e S E C’s
ai di n g a n d a b etti n g cl ai m a g ai nst t h e I n di vi d u al D ef e n d a nt, a n d ot h er affir m ati v e d ef e ns e s a ss ert e d b y Ri p pl e t h e S E C
is n ot m o vi n g t o stri k e. T h e C o urt n e e d n ot d el a y r es ol vi n g t his dis p ut e gi v e n t h at t h er e ar e i n d e p e n d e nt b as es f or t h e
dis c o v er y s o u g ht t h at will b e u n aff e ct e d b y a n y d e cisi o n o n t h e m oti o n t o stri k e. F urt h er, t h e pr esi di n g distri ct j u d g e’s
c as e m a n a g e m e nt or d er m a k e s cl e ar t h at “ [t] h e C o urt will n ot st a y dis c o v er y p e n di n g its d e cisi o n o n a n y m oti o n. ”
S e e Ci vil C as e M a n a g e m e nt Pl a n a n d S c h e d uli n g Or d er ( T o rr es, J.) , ¶ 5.
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H o n. S ar a h N et b ur n
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Pa ge 4

R e q u est f or Pr o d u cti o n of D o c u m e nts. S e e E x. E . R e q u est N os. 4, 7, 8, 1 0, 1 1, a n d 1 4 s e e k
d o c u m e nts c o n c er ni n g c o m m u ni c ati o ns b et w e e n t h e S E C a n d t hir d p arti es a b o ut X R P, bit c oi n,
a n d et h er. R e q u est N os. 4, 7, 8, a n d 1 0 s e e k s u c h c o m m u ni c ati o ns wit h t hir d p arti es g e n er all y;
R e q u est N o. 1 1 f o c us es o n c o m m u ni c ati o ns wit h t hir d- p art y e ntiti es m e nti o n e d d uri n g t h e S E C’s
i n v esti g ati o n; a n d R e q u est N o. 1 4 s p e cifi c all y s e e ks c o m m u ni c ati o ns wit h ot h er g o v er n m e nt
e ntiti es a b o ut all e g ati o ns i n t h e c o m pl ai nt.           R e q u est N os. 1 5 t hr o u g h 1 9 s e e k i nt er n al
c o m m u ni c ati o ns a m o n g S E C p ers o n n el – in cl u di n g st aff, i n v est or -f a ci n g p ers o n n el, a n d m or e
s eni or offi ci als w h o d et er mi n e t h e a g e n c y’s p ositi o n – c o n c er ni n g w h et h er di git al ass ets or virt u al
c urr e n ci es ar e s e c uriti es. T o pr o vi d e r e as o n a bl e g ui d a n c e a b o ut t h e d o c u m e nts s o u g ht, R e q u est
N os. 1 5 t hr o u g h 1 7 s p e cifi c all y cit e d p u bli c st at e m e nts b y S E C p ers o n n el t h at u n d er mi n e t h e
S E C’s affir m ati v e c as e a n d s u p p ort D ef e n d a nts’ d ef e ns es, a n d s e e ks d o c u m e nts r el at e d t o t h os e
st at e m e nts.

           O n F e br u ar y 2 5, 2 0 2 1 t h e S E C i nf or m e d d ef e n d a nts t h at, f or R e q u ests N o. 1 0 a n d 1 4
thr o u g h 1 9, it w o ul d “ wit h h ol d all R es p o nsi v e d o c u m e nts . ”3 E x. F , Pl .’s R es ps. a n d O bjs . t o D efs.’
F irst R F Ps, at 1 0- 1 6 ( F e b. 2 5, 2 0 2 1). I n e a c h c as e, t h e b asis f or wit h h ol di n g d o c u m e nts c o nsist e d
of a b oil er pl at e st at e m e nt t h at t h e d o c u m e nts ar e “ n eit h er r el e v a nt n or pr o p orti o n al t o t h e n e e ds of
t h e c as e ” a n d ar e “ pri vil e g e d a n d pr ot e ct e d. ” I d. Wit h r es p e ct t o R e q u est N os. 4, 7, a n d 8, t h e
C o m missi o n r ef us e d t o s e ar c h f or d o c u m e nts o utsi d e of its “i n v esti g ati v e fil e ” i n t his c as e. S e e i d.
6- 9.

             D es pit e t hr e e l e n gt h y vi d e o c o nf er e n c es ( o n F e br u ar y 2, F e br u ar y 2 3, a n d M ar c h 1 1, 2 0 2 1)
a n d c orr es p o n d e n c e i n w hi c h D ef e n d a nts n a rr o w e d t h eir r e q u ests a n d d et ail e d t h e b asis f or t h e m,
th e S E C h as c o nti n u e d t o r ef us e t o pr o d u c e s e v er al c at e g ori es of d o c u m e nts r es p o nsi v e t o
D ef e n d a nts’ r e q u ests. D ef e n d a nts att e m pt e d t o m e et t h e S E C h alf w a y b y li miti n g t h e dis p ut e d
r e q u ests t o c o m m u ni c ati o ns a b o ut X R P, bit c oi n a n d et h er (f or g oi n g dis c o v er y a b o ut ot h er di git al
a ss ets), a n d i d e ntif yi n g a s p e cifi c s et of ni n et e e n c ust o di a ns w h os e fil es D ef e n d a nts b eli e v e ar e
m ost li k el y t o i n cl u d e t h es e r es p o nsi v e d o c u m e nts. I n a d diti o n, D ef e n d a nts pr o p os e d a r e vi e w of
t h e s e ar c h a bl e fil es of t h e Offi c e of I n v est or E d u c ati o n, w hi c h o n i nf or m ati o n a n d b eli ef w o ul d
h a v e r e c ei v e d a n d r es p o n d e d t o c o m m u ni c ati o ns fr o m m e m b ers of t h e p u bli c r e g ar di n g t h os e t hr e e
a ss ets. S e e E x. G , L ett er fr o m R ei d Fi g el t o Jor g e T e nr eir o, at 4 ( M ar. 8, 2 0 2 1).

            T h e S E C n e v ert h el ess r ef us es t o pr o d u c e c ert ai n d o c u m e nts r es p o nsi v e e v e n t o
D ef e n d a nts’ as -c o m pr o mis e d R e q u ests. Tr u e, t h e S E C h as pr o d u c e d its s elf -d e fi n e d i n v esti g ati v e
fil e r e g ar di n g t his m att er. F urt h er, it h as b el at e dl y c o m mitt e d t o s e ar c h f or a n d pr o d u c e b ot h
m at eri als f o u n d i n c ert ai n ot h er i d e ntifi e d i n v esti g ati v e fil es a n d e -m ails b et w e e n c ert ai n i d e ntifi e d
c ust o di a ns a n d t hir d p arti es f o u n d b y s e ar c hi n g f or t h e t er ms “ X R P ” or “ Ri p pl e. ” I n ot h er w or ds,
irres p e cti v e of t h e o ut c o m e of t his m oti o n, t h e S E C will pr o d u c e d o c u m e nts r e g ar di n g X R P a n d

      3
          T h e li mit e d e x c e pti o n s w er e (i) t h e S E C’s st at e m e nts, i n r e s p o ns e t o R e q u e st N os. 1 5( b) a n d 1 7 , t h at it “ m a y”
or “ w o ul d pr o d u c e ” c ert ai n e xt er n al c o m m u ni c ati o ns p urs u a nt t o p ar all el F OI A r e q u est s, a n d (ii) wit h r es p e ct t o
R e q u est N o. 1 1, t h e S E C’s c o n c essi o n t h at it w o ul d pr o d u c e d o c u m e nts li mit e d t o t h os e fr o m its “i n v esti g ati v e fil e ”
r el ati n g t o t his m att er. E x. F at 1 0 -1 1; 1 3 -1 5.
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H o n. S ar a h N et b ur n
M ar c h 1 5, 2 0 2 1
Pa ge 5

Ri p pl e in t h e fil es of a s u bs et of c ust o di a ns th at e it h er w er e se nt to or pr o d u c e d b y thir d p arti es,
b ut n ot hi n g e ls e.4

            T h e S E C still r ef us es t o s e ar c h f or a n d pr o d u c e : (i) d o cu m e nts r e g ar di n g bit c oi n or et h er;
a n d (ii) a n y i nt er n al c o m m u ni c ati o ns w h ats o e v er, e v e n t h os e b e ari n g dir e ctl y o n t h e st at us of X R P.
F urt h er, t h e S E C n arr o w e d t h e s c o p e of its pr o d u cti o n b y h a n d pi c ki n g ni n e c ust o di a ns, e x cl u di n g
– a m o n g ot h e rs – C h air m a n J a y Cl a yt o n, C o m missi o n er El a d R ois m a n, a n d a l e a di n g i nt er n al criti c
of t h e S E C’s r e g ul at or y a p pr o a c h t o cr y pt o c urr e n c y, C o m missi o n er H est er P eir c e. E x. I, E m ail
fr o m D u g a n Bliss t o C olli n W hit e ( M ar. 1 0, 2 0 2 1). T h e S E C’s e x pl a n ati o n f or e x cl u di n g t h e t e n
ot h er c ust o di a ns D ef e n d a nts h a d pr o p os e d w as t h at t h e S E C its elf h a d d et er mi n e d th at t h e ni n e
w er e li k el y t o h a v e t h e d o c u m e nts f or w hi c h it w as willi n g t o s e ar c h.

II.         E v i d e n c e C o n c e r ni n g T h e S E C’s O w n Dis c ussi o ns A n d Vi e ws A b o ut W h et h e r X R P,
            Bit c oi n, A n d Et h e r A r e S e c u riti es Is R el e v a nt.

            T h e S E C is i m pr o p erl y wit h h ol di n g r el e v a nt, p ot e nti all y e x c ul p at or y e vi d e n c e. I n t his
c as e, t h e S E C is n ot a p assi v e b yst a n d er or d et a c h e d r e g ul at or p urs ui n g a r u n -of -t h e-mill c as e
a g ai nst s o m e o n e w h o vi ol at e d est a blis h e d l a w or r e g ul ati o ns. D uri n g t h e r el e v a nt p eri o d, t h e S E C
its elf w as a c e ntr al pl a y er i n m ar k et-wi d e dis c ussi o n, a n al ysis, a n d pr a cti c e a b o ut w h et h er a n d
u n d er w h at cir c u mst a n c es s al es of di git al ass ets c o ul d b e s e c uriti es off eri n gs. B e c a us e d o c u m e nts
a n d c o m m u ni c ati o ns – w h et h er e xt er n al or i nt er n al – r e g ar di n g h o w X R P a n d t w o si mil ar ass ets,
bit c oi n a n d et h er, w er e p er c ei v e d a n d tr e at e d b y m ar k et p arti ci p a nts a n d t h e S E C “ b e ar [ ] o n,
or . . . r e as o n a bl y c o ul d l e a d t o ot h er m att ers t h at c o ul d b e ar o n, ” s e v er al iss u es t h at ar e “ or m a y
b e i n t h e c as e, ” t h e y ar e r el e v a nt. S c h o ol cr aft v. Cit y of N e w Y or k, N o. 1 0 Ci v. 6 0 0 5, 2 0 1 2 W L
2 1 6 1 5 9 6, at * 1 2 ( S. D. N. Y. J u n e 1 4, 2 0 1 2) ( q u ot ati o n o mitt e d).

            T h e S E C c a n n ot r e as o n a bl y dis p ut e t h e r el e v a n c e of t h es e c at e g ori es of d o c u m e nts. N or
d o es t h e S E C d e n y t h at it is i n p oss essi o n of s u c h e vi d e n c e. T h e p u bli c r e c or d r efl e cts t h at at
l e ast b y 2 0 1 7 t h e S E C w as c o nsi d eri n g a n d gi vi n g g ui d a n c e o n w h et h er a n d h o w di git al ass ets
c o ul d b e cl assifi e d as s e c uriti es. F or e x a m pl e, i n J ul y 2 0 1 7, t h e S E C iss u e d a R e p ort of
I n v esti g ati o n c o n cl u di n g t h at D A O T o k e ns w er e s e c uriti es. R e p ort of I n v esti g ati o n P urs u a nt t o
S e cti o n 2 1( a) of t h e S e c uriti es E x c h a n g e A ct of 1 9 3 4: T h e D A O , S e c uriti es E x c h a n g e A ct
R el e as e N o. 8 1 2 0 7 (J ul y 2 5, 2 0 1 7), a v ail a bl e at htt p:// w w w.s e c. g o v/ liti g ati o n/i n v estr e p ort/ 3 4-
8 1 2 0 7. p df. Y et t h e S E C r e m ai n e d sil e nt i n t h e f a c e of dir e ct i n q uiri es o n t h e st at us of X R P ,5 a n d
all o w e d m ar k et p arti ci p a nts t o pr o c e e d wit h s al es a n d off ers. I n 2 0 1 8, t h e S E C’s Dir e ct or of


      4
         T h e S E C i niti all y pr o p os e d t o d o s o o nl y if D ef e n d a nts wit h dr e w t h e r est of t h eir r e q u e sts. E x. H , L ett er fr o m
D u g a n Bliss t o A n dr e w C er e s n e y et al. at 4 -5 ( F e b. 2 5, 2 0 2 1). O nl y aft er D ef e n d a nts i nf or m e d t h e S E C t h at its
pr o p os al r e q uir e d u n a c c e pt a bl e c o m pr o mis e s of t h eir dis c o v er y ri g hts, s e e E x. G , di d t h e S E C a b a n d o n its i m pr o p er
d e m a n d a n d c o m mit t o s e ar c h f or a n d pr o d u c e c ert ai n d o c u m e nts r el at e d t o t h es e t o pi cs. E x. I, E m ail fr o m D u g a n
Bliss t o C olli n W hit e ( M ar. 1 0, 2 0 2 1).
       5
         Or, o n i nf or m ati o n a n d b eli ef, t h e S E C e x pr essl y t ol d t hir d p arti es t h at n o d et er mi n ati o n h a d b e e n m a d e t h at
X R P w a s a s e c urit y.
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H o n. S ar a h N et b ur n
M ar c h 1 5, 2 0 2 1
Pa ge 6

C or p or at e Fi n a n c e p u bl i cl y st at e d t h at bi t c oi n an d et h er w e r e n ot “ s e c uriti es. ” 6 A n d its S tr at e gi c
H u b f or I n n o v ati o n a n d Fi n a n ci al T e c h n ol o g y iss u e d a 3 8- f a ct or test in 2 0 1 9 t h at c o ul d n ot
r e as o n a bl y b e re a d t o s u g g est th at X R P sh o ul d b e r e g ul at e d as a se c urit y .7 Co m missi o n er Peir c e
c o m p ar e d t h e S E C’s “ Fr a m e w or k f or ‘I n v est m e nt C o ntr a ct ” to a J a c ks o n P oll o c k
p ai nti n g – “ s pl as hi n g lots of fa ct ors o n th e c a n v as wit h o ut a ny cle ar mess a g e. ” H est er Peir c e,
S E C C o m missi o n er, H o w We H o w e y ( M a y 9, 2 0 1 9), a v ail a bl e at
htt ps:// w w w.s e c. g o v/ n e ws/s p e e c h/ p eir c e- h o w- w e - h o w e y- 0 5 0 9 1 9.

            B as e d o n i nfor m ati o n gl e a n e d t o d at e, it is cl ear t hat t h e SE C wa s t old by so p histi c at e d
m ar k et p arti ci p a nts t h at X R P w as n ot a se c urit y a n d s oli cit e d f e e d b a c k o n t h at p os iti o n, b ut di d
n ot pr o vi d e a co ntr ar y p ubli c st at e m e nt u ntil it fil e d its all e g ati o ns i n t his ca s e i n De c e m b er
2 0 2 0. L e ar ni n g a ll th er e is to l e ar n a b o ut th es e fa cts (w h et h er thr o u g h i nt er n al or e xt er n a l
c o m m u ni c ati o ns) is rel e v a nt to t h e d e f e ns e a n d w ill b e c e ntr al t o t h e C o urt’s u n d e rst a n di n g of
s e v er al iss u es criti c al to th e c as e:

      •      T o pr o p erl y a p pl y H o w e y , t h e C o urt m ust c o nsi d er w h at “i n v est ors . . . c o nt e m pl at e d ”;
             t h eir “ u n d erst a n di n g ” of w h at t h e d ef e n d a nt w o ul d “ d o . . . t o t ur n a pr ofit ”; a n d “ m ar k et
             c o n diti o ns . ” Gl e n -Ar d e n C o m m o diti es, I n c. v. C ost a nti n o , 4 9 3 F. 2 d 1 0 2 7, 1 0 3 2- 3 3 ( 2 d
             Cir. 1 9 7 4).

      •      T o c o ns i d er w h et h er t h e I n di vi d u al D ef e n d a nts k n e w or w er e r e c kl ess i n n ot r e c o g ni zi n g
             t h at Ri p pl e’s s al es of X R P w er e u nr e gist er e d s e c uriti es off eri n gs, t h e C o urt m ust e v al u at e
             t h e r e as o n a bl e n ess of t h os e D ef e n d a nts’ c o n cl usi o ns i n li g ht of t h e c urr e nt r e g ul at or y
             e n vir o n m e nt. S e e S af e c o I ns. C o. of A m eri c a v. B urr , 5 5 1 U. S. 4 7, 7 0 n. 2 0 ( 2 0 0 7) ( W h e n
             “st at ut or y t e xt a n d r el e v a nt c o urt a n d a g e n c y g ui d a n c e all o w f or m or e t h a n o n e r e as o n a bl e
             i nt er pr et ati o n, ” “ a d ef e n d a nt w h o m er el y a d o pts o n e s u c h i nt er pr et ati o n ” d o es n ot p oss ess
             k n o wl e d g e or r e c kl ess n ess ); s e e als o S E C v. K o vz a n , N o. 1 1- 2 0 1 7-J W L, 2 0 1 2 W L
             4 8 1 9 0 1 1, at * 5 ( D. K a n. O ct. 1 0, 2 0 1 2) ( a c c e pti n g d ef e n d a nt’s ar g u m e nt t h at “ c o nf usi o n
             wit hi n t h e S E C its elf m a y b e r el e v a nt t o t h e d e gr e e of d ef e n d a nt’s s ci e nt er – h o w r e c kl ess
             h e w as ”). 8 B y c h ar gi n g t h e I n di vi d u al D ef e n d a nts wit h cl ai ms t h at r e q uir e pr o of of
             k n o wl e d g e or r e c kl ess n ess, t h e S E C h as dir e ctl y p ut at iss u e t h e r el e v a n c e of t h e o bj e cti v e
             b asis f or t h e I n di vi d u al D ef e n d a nts’ i nt er pr et ati o ns.



      6
         S e e n. 1, s u pr a.
      7
          S E C, Fr a m e w or k f or “ I n v est m e nt C o ntr a ct” A n al ysis of Di git al Ass ets ( A pr. 3, 2 0 1 9), a v ail a bl e at
htt ps:// w w w.s e c. g o v/ c or pfi n/fr a m e w or k -i n v e st m e nt-c o ntr a ct -a n al ysis -di git al -ass ets .
       8
         If Ri p pl e is f o u n d t o h a v e vi ol at e d S e cti o n 5, t h e S E C’s c o ntri b uti o ns t o “ y e ars of c o nsi d er a bl e u n c ert ai nt y as
t o t h e r e g ul at or y cli m at e c o n c er ni n g ” virt u al c urr e n ci e s will als o b e r el e v a nt t o a p pr o pri at e r e m e di es. Art h ur Li p p er
C or p. v. S E C , 5 4 7 F. 2 d 1 7 1, 1 8 4 ( 2 d Cir. 1 9 7 6) (li miti n g S E C s a n cti o ns b as e d o n s u c h u n c ert ai nt y); s e e als o R olli ns
E n vtl. S er vs. ( N J) I n c. v. E P A , 9 3 7 F. 2 d 6 4 9, 6 5 3-5 4 ( D. C. Cir. 1 9 9 1) ( mi ti g ati n g p e n alt y w h er e p u bli cl y a v ail a bl e
i nf or m ati o n d e m o nstr at e d t h at “ v ari o us E P A offi c es [ h a d] b e e n gi vi n g c o nfli cti n g g ui d a n c e ”).
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H o n. S ar a h N et b ur n
M ar c h 1 5, 2 0 2 1
Pa ge 7

     •     A n d t o d et er mi n e w h et h er Ri p pl e h a d f air n oti c e t h at t h e S E C w o ul d cl assif y X R P as a
           s e c urit y, t h e C o urt m ust c o nsi d er w h et h er a “ p ers o n of or di n ar y i nt elli g e n c e ” i n Ri p pl e’s
           p ositi o n h a d “ a r e as o n a bl e o p p ort u nit y t o k n o w w h at is pr o hi bit e d. ” Gr a y n e d v. Cit y of
           R o c kf or d , 4 0 8 U. S. 1 0 4, 1 0 8 ( 1 9 7 2), or w h et h er i nst e a d “s u bst a nti al u n c ert ai nt y ” d e pri v e d
           m ar k et p arti ci p a nts of f air n oti c e, U pt o n v. S E C , 7 5 F. 3 d 9 2, 9 8 ( 2 d Cir. 1 9 9 6); s e e als o
           G e n. El e c. C o. v. E P A , 5 3 F. 3 d 1 3 2 4, 1 3 3 2-3 4 ( D. C. Cir. 1 9 9 5), as c orr e ct e d (J u n e 1 9,
           1 9 9 5) ( h ol di n g t h at “ w h er e t h e a g e n c y its elf str u g gl es t o pr o vi d e a d efi niti v e r e a di n g of t h e
           r e g ul at or y r e q uir e m e nts, a r e g ul at e d p art y is n ot ‘ o n n oti c e’ of t h e a g e n c y’s ulti m at e
           i nt er pr et ati o n of t h e r e g ul ati o ns, a n d m a y n ot b e p u nis h e d, ” a n d t h at “it is u nli k el y t h at
           r e gul ati o ns pr o vi d e a d e q u at e n oti c e w h e n diff er e nt di visi o ns of t h e e nf or ci n g a g e n c y
           dis a gr e e a b o ut t h eir m e a ni n g ”) .

E a c h of t h e c at e g ori es of d o c u m e nts i n dis p ut e g o es dir e ctl y t o t h es e iss u es.

           A.        I nte r n al D o c u m e nts a n d C o m m u ni c ati o ns

            A n y r el e v a n c e o bj e cti o n t o s e ar c hi n g f or r es p o nsi v e i nt er n al c o m m u ni c ati o ns l a c ks m erit.
At l e ast t w o s u b -c at e g ori es of i nt er n al c o m m u ni c ati o ns ar e r el e v a nt. First , i nt er n al S E C
d o c u m e nts r e g ar di n g c o m m u ni c ati o ns wit h t hir d p arti es will li k el y r e v e al m ar k et vi e ws o n X R P
a n d a d diti o n al c o nt a cts t h at e xt er n al c o m m u ni c ati o ns o nl y w o ul d n ot s h o w. T h e i nt er n al
c o m m u ni c ati o ns t h e ms el v es n e e d n ot b e a d missi bl e t o b e dis c o v er a bl e. S e e F e d. R. Ci v. P.
2 6( b)( 1). T h e S E C alr e a d y k n o ws ( as D ef e n d a nts d o n ot) w hi c h of t h e m or e t h a n 2 0 0 e x c h a n g es
a n d i n n u m er a bl e X R P p ur c h as ers h a v e e x pr ess e d r el e v a nt vi e ws t o t h e S E C. D ef e n d a nts s h o ul d
n ot h a v e t o pr o p o u n d m a n y s e p ar at e dis c o v er y r e q u ests t o i d e ntif y t h os e n o n -p arti es, a n d t h os e
n o n- p arti es s h o ul d n ot b e b ur d e n e d wit h u n n e c ess ar y s u b p o e n as, w h e n t h e S E C c a n pr o vi d e t h at
i nf or m ati o n f ar m or e effi ci e ntl y, f or e x a m pl e, b y pr o d u ci n g all m e m or a n d a c o v eri n g dis c ussi o ns
a n d e x c h a n g es wit h t h os e t hir d p arti es. S e c o n d , d o c u m e nts t o u c hi n g o n t h e vi e ws of t h e a g e n c y
c h ar g e d wi t h e nf or ci n g t h e s e c uriti es l a ws m a y l e a d t o a d missi bl e e vi d e n c e s u p p orti n g Ri p pl e’s
f air n oti c e d ef e ns e a n d t h e I n di vi d u al D ef e n d a nts’ d ef e ns e t h at t h e y c o ul d n ot h a v e h a d t h e
r e q uisit e st at e of mi n d t o b e li a bl e f or ai di n g a n d a b etti n g.

           B.        D o c u m e nts R e g a r di n g Bit c oi n a n d Et h e r

            T h e S E C r ests its c o nt e nti o n t h at d o c u m e nts r e g ar di n g bit c oi n a n d et h er ar e irr el e v a nt
e ntir el y o n its c o n cl us or y ass erti o n t h at t h os e ass ets ar e “ n ot at iss u e i n t his c as e. ” E x. H at 2. N ot
s o. D ef e n d a nts i nt e n d t o s h o w t h at, u n d er a pr o p er a p pli c ati o n of H o w e y , t h e e c o n o mi c s u bst a n c e
of a tr a ns a cti o n i n X R P is n o diff er e nt fr o m o n e i n bit c oi n or et h er – c urr e n ci es t h at Dir e ct or
Hi n m a n p u bli cl y st at e d w er e n ot “s e c uriti es. ” T his i nf or m ati o n is als o r el e v a nt t o a n al ys es b ei n g
c o n si d er e d b y o ur e x p ert wit n ess es, a n d is li k el y t o l e a d t o e vi d e n c e t h at m a y b e us e d i n t h e
pr e p ar ati o n of e x p ert r e p orts. T h e S E C’s str at e gi c r el u ct a n c e t o c o nfr o nt t h at c o m p aris o n i n
p utti n g o n its c as e is n o b asis t o d e n y D ef e n d a nts dis c o v er y r el e v a nt t o m a ki n g it i n t h eirs.
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H o n. S ar a h N et b ur n
M ar c h 1 5, 2 0 2 1
Pa ge 8

           C.        A d diti o n al C ust o di a ns

             T h e S E C h as gi v e n n o i n d e p e n d e nt b asis f or its r ef us al t o pr o d u c e d o c u m e nts fr o m t e n of
th e c ust o di a ns D ef e n d a nts pr o p os e d or t o s e ar c h t h e s e ar c h a bl e fil es of t h e Offi c e of I n v est or
E d u c ati o n. T h er e is e v er y r e as o n t o b eli e v e t h e c ust o di a ns w h os e fil es t h e S E C r ef us es t o
se ar c h – i n cl u di n g t h e S E C’s f or m er C h air m a n, a c urr e nt C o m missi o n er, a n d c ert ai n s e ni or
of fi ci als i n t h e Di visi o ns of C or p or ati o n Fi n a n c e a n d E nf or c e m e nt – w ill h a v e h a d c ust o d y of
d o c u m e nts r es p o nsi v e t o D ef e n d a nts’ r e q u ests. W h e n pr ess e d t o e x pl ai n its r ef us al t o s e ar c h t h os e
fil es, t h e S E C ass ert e d t h at it h a d b as e d its list o n its i n v esti g ati o n of w h o w o ul d b e li k el y t o h a v e
t h e d o c u m e nts it w as a gr e ei n g t o pr o d u c e. B e c a us e t h e d o cu m e nts it h as r ef us e d t o pr o d u c e ar e
r el e v a nt, t h e S E C’s r ef us al e v e n t o s e ar c h t h e fil es of t h e ot h er t e n c ust o di a ns st a n ds u n d ef e n d e d.

III.       T h e S E C H as N ot S u bst a nti at e d A n y Cl ai m Of P ri vil e g e O r Ot h e r B asis F o r
           Wit h h ol di n g R el e v a nt E vi d e n c e.

           T h e S E C’s c l ai m e d ri g ht t o “ wit h h ol d ” s u c h e vi d e n c e ot h er wis e r ests o n a mi x of
a m or p h o us cl ai ms t h at t h e e vi d e n c e is “ pri vil e g e d ” or “ pr ot e ct e d ” or s o m e h o w t h at its pr o d u cti o n
w o ul d n ot b e “ pr o p orti o n al. ” N o n e of t h es e ar g u m e nts h as b e e n s u bst a nti at e d, a n d n o n e of t h e m
ulti m at el y h a v e a n y m erit.

            “ Li k e a n y or di n ar y liti g a nt, t h e G o v er n m e nt m ust a bi d e b y t h e F e d er al R ul es of Ci vil
Pr o c e d ur e. It is n ot e ntitl e d t o s p e ci al c o nsi d er ati o n c o n c er ni n g t h e s c o p e of dis c o v er y, es p e ci all y
w h e n it v ol u nt aril y i niti at es a n a cti o n . ” S E C v. C olli ns & Ai k m a n C or p ., 2 5 6 F. R. D. 4 0 3, 4 1 4
( S. D. N. Y. 2 0 0 9). T h at is p arti c ul arl y s o w h er e, as h er e, t h e S E C h as el e ct e d t o c h ar g e i n di vi d u als
wit h k n o wl e d g e or r e c kl ess n ess b as e d o n a n o v el a p pli c ati o n of t h e l a w. S e e S E C v. H e artl a n d
A d vis ors, I n c. , N o. 0 3- C-1 4 2 7, 2 0 0 6 W L 2 5 4 7 0 9 0, at * 5 n. 4 ( E. D. Wis. A u g. 3 1, 2 0 0 6) ( n oti n g
t h at “ a s uit b y t h e S E C is a ki n t o a cri mi n al pr os e c uti o n i n t h at it is a c c usi n g [ a] pri v at e i n di vi d u al
of wr o n g -d oi n g ” a n d its “i nt er est . . . is n ot t h at it s h all wi n a c as e, b ut t h at j usti c e s h all b e d o n e. ”)
(i nt er n al q u ot ati o n m ar ks o mitt e d).

            W hil e t h e S E C h as f ail e d t o arti c ul at e t h e b asis of its “ pr o p orti o n alit y ” ar g u m e nt, t h er e c a n
b e n o s eri o us ar g u m e nt t h at as ki n g t h e S E C t o s e ar c h f or r e c or ds of 1 9 c ust o di a ns is
dis pr o p orti o n at e i n t his c as e. D ef e n d a nts h a v e a gr e e d t o s e ar c h 3 0 c ust o di a ns f or d o c u m e nts
r e q u est e d b y t h e S E C. M or e o v er, t h e S E C is d e m a n di n g t h at fift y t hir d p arti es p erf or m t h e v er y
s a m e t y p es of s e ar c h es. A n d t h e r e q u est t h at D ef e n d a nts h a v e m a d e is n o m or e b ur d e ns o m e t h a n
t h e t y p es of s e ar c h es t h at g o v er n m e nt a g e n ci es ar e r o uti n el y r e q uir e d t o p erf or m p urs u a nt t o t h e
Fr e e d o m of I nf or m ati o n A ct, 5 U. S. C. § 5 5 2, s e ar c h es c o n d u ct e d o n b e h alf of m e m b ers of t h e
p u bli c w h o – u nli k e d ef e n d a nts h er e – m a y l a c k a n y t a n gi bl e i nt er est i n t h e r e c or ds s o u g ht. Cf.
Al e x a n d er v. F. B.I. , 1 8 8 F. R. D. 1 1 1, 1 1 6 ( D. D. C. 1 9 9 8) ( “‘[ d]is c o v er y i n a F OI A a cti o n is
e xtr e m el y li mit e d,’ . . . es p e ci all y w h e n c o m p ar e d t o dis c o v er y c o n d u ct e d i n a tr a diti o n al ci vil
a cti o n. ”) ( q u oti n g K atz m a n v. Fr e e h , 9 2 6 F. S u p p. 3 1 6, 3 1 9 ( E. D. N. Y. 1 9 9 6)). As n ot e d, t h e
Offi c e of I n v est or E d u c ati o n, w hi c h w o ul d h a v e r e c ei v e d a n d r es p o n d e d t o c o m m u ni c ati o ns fr o m
m e m b ers of t h e p u bli c, h as its o w n s e ar c h a bl e fil es.
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H o n. S ar a h N et b ur n
M ar c h 1 5, 2 0 2 1
Pa ge 9

             F urt h er, t h e S E C h as n ot s u bst a nti at e d h o w – if at all – D ef e n d a nts’ d o c u m e nt r e q u ests
w o ul d b e s o b ur d e ns o m e t o c o m pl y wit h t h at t h e S E C s h o ul d b e e x c us e d fr o m pr o d u ci n g r el e v a nt
e vi d e n c e. Gr oss v. L u n d us ki , 3 0 4 F. R. D. 1 3 6, 1 5 1 ( W. D. N. Y. 2 0 1 4) ( “[ g] e n er ali z e d o bj e cti o ns
t h at a dis co v e r y r e q u est is u n d ul y b ur d e ns o m e ar e i ns uffi ci e nt; r at h er, t h e p art y o bj e cti n g t o t h e
r e q u est e d dis c o v er y o n t h e gr o u n d of u n d u e b ur d e ns o m e n ess m ust s u b mit a n affi d a vit or ot h er
e vi d e n c e r e v e ali n g t h e n at ur e of t h e b ur d e n ”) ( q u oti n g B r o w n v. D e p’t of C orr. S er vs ., N o. 0 9- C V -
0 0 9 4 9 S( F), 2 0 1 1 W L 2 1 8 2 7 7 5, at * 1 6 ( W. D. N. Y. J u n e 2, 2 0 1 1) ).

            T o t h e e xt e nt t h e S E C is st a n di n g o n its i niti al r ef us al t o pr o d u c e d o c u m e nts fr o m o utsi d e
of its i n v esti g ati v e fil e t h at ar e r es p o nsi v e t o R e q u est N os. 4, 7, a n d 8, n ot hi n g s u p p orts t h at
li mit ati o n: It is f ar fr o m u n pr e c e d e nt e d f or a g o v er n m e nt a g e n c y, h a vi n g i niti at e d a ci vil
e nf or c e m e nt a cti o n, t o b e r e q uir e d t o s e ar c h b e y o n d its i n v esti g at or y fil e i n a p arti c ul ar m att er.
S e e, e. g. , S ol is v. B e a c o n Ass o c. M g mt. C or p., N o. 1 0 Ci v. 8 0 0 0, 2 0 1 1 U. S. Dist. L e xis 8 9 3 5 3,
E C F N o. 7 9 ( S. D. N. Y. 2 0 1 1) ( affir mi n g m a gistr at e’s or d er c o m p elli n g “ dis cl os ur e of d o c u m e nts
fr o m ot h er D e p art m e nt of L a b or … i n v esti g ati o ns ” i n v ol vi n g “ milli o ns of d o c u m e nts i n m a n y
c as es t hr o u g h o ut t h e c o u ntr y. ” ); S E C v. S e nti n el M g mt. Gr p., I n c. , N o. 0 7 C 4 6 8 4, 2 0 1 0 W L
4 9 7 7 2 2 0, at * 2 ( N. D. Ill. D e c. 2, 2 0 1 0) ( h ol di n g t h at d o c u m e nts fr o m r el at e d S E C i n v esti g ati o n,
in cl u di n g “i nt er n al S E C st aff c o m m u ni c ati o ns ” a n d “i nt er n al m e m or a n d a ” w er e r el e v a nt t o st at e
of mi n d, w hil e r ej e cti n g S E C’s ar g u m e nt “t h at its n o n- p u bli c ‘ p ers p e cti v es’ d uri n g t h e
e x a mi n ati o n, if n ot c o m m u ni c at e d t o [ d ef e n d a nt] ar e n ot r el e v a nt ” b e c a us e “t h e S E C’s sil e n c e o n
a pr a cti c e ar g u a bl y c o ul d b e r el e v a nt t o t h e S E C’s all e g ati o n t h at [ d ef e n d a nt] k n o wi n gl y
c o m mitt e d fr a u d ”) .

            T h e S E C’s p ositi o n h er e is r e m ar k a bl e n ot o nl y o n its o w n t er ms, b ut als o i n c o ntr ast t o
w h at t h e S E C its elf r o uti n el y r e q uir es of ot h er p arti es. E v er y d a y, t h e S E C dis p at c h es i n v esti g ati v e
su b p o e n as t o pri v at e c o m p a ni es a n d i n di vi d u als a cr oss t h e c o u ntr y r e q uiri n g t h e m t o c o n d u ct a
g o o d f ait h s e ar c h of t h eir fil es a n d t o pr o d u c e r el e v a nt d o c u m e nts. It is a m att er of r o uti n e f or s u c h
s e ar c h es t o i n cl u d e t h e el e ctr o ni c c o m m u ni c ati o ns of r el e v a nt c ust o di a ns. I n t his v er y c as e,
D ef e n d a nts h a v e c oll e cti v el y pr o d u c e d m or e t h a n 2 0 0, 0 0 0 p a g es, a n d t h e S E C is s e e ki n g e v e n
m or e fr o m D ef e n d a nts a n d fr o m fift y t hir d p arti es. It is n ot dis pr o p orti o n at e t o r e q uir e t h e S E C t o
c o n d u ct its o w n si mil ar s e ar c h.

            As f or pri vil e g e, t h e S E C h as n ot ass ert e d a n y pri vil e g e t h at w o ul d e x c us e it fr o m e v e n
s e ar c hi n g f or r es p o nsi v e fil es, n or h as it pr o p erl y i nt er p os e d a n y pri vil e g e o bj e cti o n t h at w o ul d
e x c us e pr o d u cti o n. T o t h e e xt e nt t h e a g e n c y s e e ks t o cl o a k its elf i n t h e d eli b er ati v e pr o c ess
pr i vil e g e, w e n ot e t h at pri vil e g e is n ot a bs ol ut e e v e n if it a p pli es, a n d c o urts h a v e or d er e d pr ot e ct e d
m at er i als pr o d u c e d w h er e, as h er e, t h e i nf or m ati o n w as n ot ot h er wis e a v ail a bl e. S E C v. M er ki n ,
2 8 3 F. R. D. 6 8 9, 6 9 4- 9 8 ( S. D. Fl a. 2 0 1 2). I n a n y e v e nt, t h e S E C c ert ai nl y h as n ot i d e ntifi e d a n y
pr i vil e g e t h at w o ul d att a c h t o its c orr es p o n d e n c e r e g ar di n g bit c oi n a n d et h er wit h t hir d p arti es,
m u c h l ess t o d o c u m e nts s u b mitt e d b y t hir d p arti es t o t h e S E C, a n d – at l e ast o utsi d e of t h e l a w
e nf or c e m e nt c o nt e xt – n o s u c h pri vil e g e e xists. E v e n f or i nt er n al d o c u m e nts, t h e c at e g ori es n ot e d
a b o v e ar e pl ai nl y r el e v a nt t o t h e d ef e ns es of l a c k of n oti c e a n d l a c k of k n o wl e d g e or r e c kl ess n ess,
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H o n. S ar a h N et b ur n
M ar c h 1 5, 2 0 2 1
Pa ge 1 0

es p e ci all y w h e n t h e y r el at e t o t h e vi e ws of t hir d -p art y m ar k et p arti ci p a nts a n d t h e S E C’s o w n
pr ol o n g e d u n c ert ai nt y a b o ut t h e st at us of X R P a n d ot h er di git al c urr e n ci es. I n a n y e v e nt, t h e S E C
m ust c o n d u ct t h e r el e v a nt s e ar c h b ef or e it c a n cr e di bl y m a k e a n y pri vil e g e d et er mi n ati o n as t o
p arti c ul ar d o c u m e nts. K o vz a n , 2 0 1 2 W L 4 8 1 9 0 1 1, at * 6 ( “[ T] h e S E C h as n ot y et c o n d u ct e d t h e
r el e v a nt s e ar c h, a n d t h us it c a n n ot cr e di bl y m a k e t h at d et er mi nati o n. ”). F e d er al R ul e 2 6 a n d L o c al
R ul e 2 6. 2 r e q uir e t h e C o m missi o n t o pr o d u c e a pri vil e g e l o g. B ut t h e S E C, li k e a n y ot h er liti g a nt,
c a n n ot a v oi d its dis c o v er y o bli g ati o ns wit h m er e h a n d w a vi n g a b o ut p ot e nti al b ut as - of-y et
u ns u bst a nti at e d pri vil e g es. S e e als o R es ol uti o n Tr ust C or p. v. Di a m o n d , 1 3 7 F. R. D. 6 3 4, 6 3 0- 4 1
( S. D. N. Y. 1 9 9 1) ( “ T h e [ d eli b er ati v e pr o c ess] pri vil e g e d o es n ot e xt e n d t o p ur el y f a ct u al m at eri als
e v e n if t h e y ar e us e d i n t h e d et er mi n ati o n of p oli c y. It als o d o es n ot pr ot e ct f a ct u al fi n di n gs a n d
c o n cl usi o ns, as o p p os e d t o o pi ni o ns a n d r e c o m m e n d ati o ns, n or d o es it pr ot e ct f a ct u al m at eri al
w hi c h m a y b e s e v er e d fr o m a d eli b er ati v e r e p ort. ” (i nt er n al cit ati o ns o mitt e d)).

I V.         T h e S E C S h o ul d B e R e q ui r e d T o P r o d u c e T h e R el e v a nt E vi d e n c e I n Its P oss essi o n.

           T h e S E C s h o ul d b e r e q uir e d t o s e ar c h f or a n d pr o d u c e d o c u m e nts r es p o nsi v e t o R e q u est
N os. 4, 7, 8, 1 0, 1 1, a n d 1 4 - 1 7 – s p e cifi c all y, d o c u m e nts r efl e cti n g S E C’s pri or st at e m e nts, a n d
c o m m u ni c ati o ns r e c ei v e d b y a n d m a d e t o t hir d p arti es, as w el l as i nt er n al d o c u m e nts dis c ussi n g
w h et h er X R P, bit c oi n, or e t h er is or e v er w as a “s e c urit y. ”

             T h e C o urt s h o ul d dir e ct t h e S E C t o s e ar c h f or s u c h d o c u m e nts i n:

             ( 1)         T h e s e ar c h a bl e fil es of t h e f oll o wi n g i n di vi d u als: St e p h a ni e A v a ki a n; Eli z a b et h
                          B air d; S o ni a G u pt a B arr os; D ali a Bl ass; J o e Br e n n er; J a y Cl a yt o n; R o b C o h e n;
                          Willi a m Hi n m a n; J o n I n gr a m; Kristi n a Litt m a n; J e n nif er M c H u g h; H est er P eir c e;
                          Br ett R e df e ar n; Mi c h a el R e e di c h; El a d R ois m a n; Mi c h a el S e a m a n; A m y St arr;
                          V al e ri e S z c z e p a ni k; a n d M ar k Vil ar d o. 9

             ( 2)         T h e s e ar c h a bl e fil es of t h e Offi c e of I n v est or E d u c ati o n.

             ( 3)         A n y ot h er r e as o n a bl y -s e ar c h a bl e d at a b as e of e xt er n al c orr es p o n d e n c e m ai nt ai n e d
                          b y t h e S E C.

           D ef e n d a nts’ r e q u est is r e as o n a bl e, it is pr o p orti o n al, it is wit h o ut pr ej u di c e t o t h e S E C’s
a bilit y t o pr o p erl y ass ert a n y a p pli c a bl e l e g al pri vil e g e ( a n d D ef e n d a nts’ ri g ht t o c h all e n g e s u c h
ass erti o ns), a n d t h er e is n o g o o d r e as o n f or t h e S E C t o r esist t his r e q u est.




       9
            D ef e n d a nts r es er v e t h e ri g ht t o s e e k t h e a d diti o n of f urt h er c ust o di a ns w h o s e i d e ntit y is u ni q u el y k n o w n t o
t h e S E C if s u c h i n di vi d u als ar e i d e ntifi e d t hr o u g h f urt h er dis c o v er y.
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H o n. S ar a h N et b ur n
M ar c h 1 5, 2 0 2 1
Pa ge 1 1

R es p e ctf ull y su b mitt e d,

  /s/ Mi c h a el K. K ell o g g                                       /s/ M ar y J o W hit e
 Mi c h a el K. K e ll o g g                                          M ar y J o W hit e
 ( m k ell o g g @ k ell o g g h a ns e n. c o m)                     ( mj w hit e @ d e b e v ois e. c o m)
 R ei d M. Fi g el                                                    A n dr e w J. C er es n e y
 Gr e g or y M. R a p a w y                                           Lis a Z or n b er g
 C olli n R. W hit e                                                  C hrist o p h er S. F or d
 Eli a n a M ar g o Pf eff er *                                       Joy Guo
 K E L L O G G, H A N S E N, T O D D, FI G E L,                       D E B E V OI S E & P LI M P T O N L L P
 & F R E D E RI C K P L L C                                           9 1 9 T hir d A v e n u e
 S u m n er S q u ar e                                                N e w Y or k, N Y 1 0 0 2 2
 1 6 1 5 M Str e et, N W, S uit e 4 0 0                               + 1 ( 2 1 2) 9 0 9- 6 0 0 0
 W as hi n gt o n, D C 2 0 0 3 6
 + 1 ( 2 0 2) 3 2 6- 7 9 0 0

                                       Att or n e ys f or D ef e n d a nt Ri p pl e L a bs I n c.


  /s/ M att h e w C. S ol o m o n                                       /s/ M arti n Fl u m e n b a u m
 M att h e w C. S ol o m o n                                          M arti n Fl u m e n b a u m
 ( ms ol o m o n @ c gs h. c o m)                                     ( mfl u m e n b a u m @ p a ul w eiss. c o m)
 Al e x a n d er J. J a n g h or b a ni                               Mi c h a el E. G ert z m a n
 L u c as H a k k e n b er g                                          M er e dit h D e ar b or n
 S a m u el L e v a n d er                                            J usti n D. W ar d
 C L E A R Y G O T T LI E B S T E E N &                               Kristi n a A. B u nti n g
 H A MI L T O N                                                       P A U L, W EI S S, RI F KI N D, W H A R T O N &
 2 1 1 2 P e n ns yl v a ni a A v e n u e N W                         G A R RI S O N L L P
 W as hi n gt o n, D C 2 0 0 3 7                                      1 2 8 5 A v e n u e of t h e A m eri c as
 + 1 ( 2 0 2) 9 7 4- 1 6 8 0                                          N e w Y or k, N Y 1 0 0 1 9
                                                                      + 1 ( 2 1 2) 3 7 3- 3 0 0 0
 At t or n e ys f or D ef e n d a nt Br a dl e y
 G arli n g h o us e                                                  At t or n e ys f or D ef e n d a nt C hristi a n A.
                                                                      L ars e n




* N ot A d mitt e d i n t h e Distri ct of C ol u m bi a ; pr a cti c e s u p er vis e d b y m e m b ers of t h e fir m.
